    Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.5 Page 1 of 25




5
    Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.6 Page 2 of 25




6
    Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.7 Page 3 of 25




7
    Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.8 Page 4 of 25




8
    Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.9 Page 5 of 25




9
 Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.10 Page 6 of 25




10
 Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.11 Page 7 of 25




11
 Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.12 Page 8 of 25




12
 Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.13 Page 9 of 25




13
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.14 Page 10 of 25




14
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.15 Page 11 of 25




15
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.16 Page 12 of 25




16
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.17 Page 13 of 25




17
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.18 Page 14 of 25




18
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.19 Page 15 of 25




19
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.20 Page 16 of 25




20
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.21 Page 17 of 25




21
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.22 Page 18 of 25




22
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.23 Page 19 of 25




23
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.24 Page 20 of 25




24
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.25 Page 21 of 25




25
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.26 Page 22 of 25




26
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.27 Page 23 of 25




27
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.28 Page 24 of 25




28
Case 2:11-cv-03090-RMP   ECF No. 1-1   filed 09/08/11   PageID.29 Page 25 of 25




29
